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                                 United States District Court
                                        EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION

      MAX WANG                                           §
                                                         §
      v.                                                 § Civil Action No. 4:17-CV-158
                                                         § (Judge Mazzant/Judge Nowak)
      SAFECO INSURANCE COMPANY OF                        §
      INDIANA, SEAN SMITH                                §


                        MEMORANDUM ADOPTING REPORT AND
                 RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

               Came on for consideration the report of the United States Magistrate Judge in this action,

     this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

     On June 2, 2017, the report of the Magistrate Judge (Dkt. #27) was entered containing proposed

     findings of fact and recommendations that Plaintiff Max Wang’s Motion to Remand (Dkt. #16) be

     denied.

               Having received the report of the Magistrate Judge, and no objections thereto having been

     timely filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

     are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

.              It is, therefore, ORDERED that Plaintiff Max Wang’s Motion to Remand (Dkt. #16) is

     DENIED, and that Plaintiff’s claims against non-diverse Defendant Sean F. Smith are dismissed

     without prejudice.

               IT IS SO ORDERED.
               SIGNED this 20th day of June, 2017.




                                              ___________________________________
                                              AMOS L. MAZZANT
                                              UNITED STATES DISTRICT JUDGE
